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                                       United States District Court
                                         Northern District of Texas
                                          1100 Commerce Street
                                           Dallas, Texas 75242

Chambers of                                                                              214/753-2400
U.S. Magistrate Judge David L. Horan




                                             July 10, 2019

      Karen Mitchell, Clerk
      United States District Court
      Northern District of Texas
      1100 Commerce Street
      Dallas, Texas 75242

                      Re:    No. 3:19-cr-318-K, USA v. Nanda

      Dear Ms. Mitchell:

            Pursuant to the provisions of 28 U.S.C. § 455, I would appreciate it if you would
      please reassign the above-referenced case to another magistrate judge for any matters
      that may be referred going forward in accordance with the usual procedure.

                                                 Sincerely,




                                                 David L. Horan


      cc:     Judge Kinkeade
